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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS

                                                                    Civil Action No. 19-11384


 JOHN DOE, by his Mother and Next Friend,
 JANE DOE,

           Plaintiff,

 v.

 CAROL CAVANAUGH, in her Official Capacity
 as Superintendent of the Hopkinton Public
 Schools; EVAN BISHOP, in his Official Capacity
 as Principal of Hopkinton High School, and
 HOPKINTON PUBLIC SCHOOLS,

           Defendants.


              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                          INTRODUCTION

          In violation of the United States Constitution, the Massachusetts Constitution, and the

law of the Commonwealth, Hopkinton Public Schools suspended Plaintiff John Doe (“Doe”), a

student at Hopkinton High School, based solely on his private speech to a small group of

friends—speech that did not cause any disruption or disorder within the school or infringe on the

rights of any person. Defendants have violated Doe’s right to free speech as protected by the

First Amendment to the United States Constitution, Art. 16 of the Massachusetts Declaration of

Rights, and G.L. c. 71, § 82, as well as his right to due process of law. Accordingly, Doe brings

this action for declaratory and injunctive relief to restrain the violation of his rights and to

rescind the unlawful suspension. In addition, Doe is entitled to an award of reasonable attorneys’

fees and costs pursuant to 42 U.S.C. § 1988.




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                                            PARTIES

          1.    Plaintiff John Doe, a minor, is a resident of Hopkinton, Massachusetts, and a

student at Hopkinton High School. He brings this action by and through his mother and next

friend, Jane Doe.

          2.    Defendant Carol Cavanaugh is the Superintendent of Hopkinton Public Schools,

located at 89 Hayden Rowe Street, Hopkinton, Massachusetts. She is sued in her official capacity

for injunctive relief.

          3.    Defendant Evan Bishop is the Principal of Hopkinton High School, located at 90

Hayden Rowe Street, Hopkinton, Massachusetts. He is sued in his official capacity for injunctive

relief.

          4.    The Hopkinton Public Schools, located at 89 Hayden Rowe Street, is the public

school system for the Town of Hopkinton, Massachusetts.

                                             FACTS

          5.     On February 3, 2019, the Hopkinton Public Schools received a “bullying report”

from a parent of Robert Roe, a student at Hopkinton High School. The report asserted that

another Hopkinton High School student—not John Doe—had taken pictures and videos of Roe

without his permission.

          6.    Between February 4 and February 6, 2019, two assistant principals, Josh Hanna

and Justin Pominville, conducted an investigation of the allegations in the “bullying report,”

including the questioning of students who were allegedly involved or who were alleged

witnesses.

          7.    Hanna and Pominville first interviewed Roe, the alleged “target.” Roe identified

four students who he said took photos and videos of him and whispered about him on the school



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bus and at private dinners held at students’ houses. Roe said that, as a consequence, he felt

“alone” on the bus and at the dinners.

       8.      Roe did not allege, and the investigation did not reveal, that John Doe took any

photos or videos of Roe.

       9.      Roe did not allege, and the investigation did not reveal, that John Doe whispered

about Roe on the school bus or at the group dinners.

       10.     To the contrary, Roe affirmatively told the administrators during his interview

that “[John Doe] was not active in isolating [him].”

       11.     In short, Roe neither saw nor heard John Doe engage in any conduct that made

Roe feel harmed in any way, and he so informed the administrators.

       12.     The only conduct in which the school found John Doe engaged was private,

written speech that Roe did not read at any point prior to lodging the “bullying report.”

       13.     Specifically, as part of the investigation, Hanna and Pominville required one or

more of the students (not John Doe) to turn over his/their smartphones so school officials could

review photos, videos and/or private messages stored on the phone(s).

       14.     As a result, the assistant principals discovered a private “group chat” among eight

boys, including John Doe, on the social media platform “SnapChat.” The group chat was not

accessible or visible to anyone who was not a member of the group.

       15.     The assistant principals also discovered, in the course of reviewing the private

chat texts, that certain of the boys posted photos of Roe and/or made remarks about Roe’s

appearance in the private group chat.

       16.     Roe was not a member of the private group chat. On information and belief, he

did not read or see any of the messages in the group chat prior to the investigation.



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       17.     Doe made a single comment about Roe in the private group chat. That comment

was: “[Student A] and [Robert Roe] were made on the same day. [Student A] was the starting

product and [Robert Roe] is what it turned into kinda like a game of telephone.”

       18.     The assistant principals prepared a report of their findings (the “investigation

report”), which summarized the information they gathered during their investigation. As to John

Doe, specifically, they found only that he “made a comment on the group chat.” A true and

accurate copy of the investigation report, redacted to protect the privacy of the minor students

named therein, is attached hereto as Exhibit A.

       19.     The investigation report also explicitly acknowledged that Robert Roe told school

administrators that John Doe “was not active” in the conduct about which he and his parent(s)

had complained.

       20.     The assistant principals did not find that John Doe’s single comment in the private

group chat caused a material and substantial disruption of the Hopkinton High School. They also

did not find that John Doe used Hopkinton Public Schools resources when he made the comment

in the private group chat.

       21.     John Doe attended a disciplinary hearing on February 12, 2019. At the hearing,

Assistant Principal Pominville read the findings contained in the investigation report and asked

Doe to respond to those findings; the school did not present any additional evidence against Doe.

       22.     Later that day, Defendant Bishop informed John Doe that Doe was suspended

from school for three days for a purported violation of Hopkinton High School’s Student Code of

Conduct. A true and accurate copy of the suspension letter, redacted to protect the privacy of the

minor student(s) named therein, is attached hereto as Exhibit B.




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        23.     Bishop based the suspension on the school’s “Cyber-Bullying/Bullying” policy

(the “bullying policy”). However, the bullying policy does not apply to single incidents of speech

or conduct, nor does it apply to speech that is not communicated to the alleged target of bullying.

It also does not apply to online speech that is published without the use of Hopkinton Public

Schools computer equipment, unless the speech materially and substantially disrupts the

educational process of the school.

        24.     Specifically, “bullying” is defined in the Hopkinton High School Student Code of

Conduct as “repeated” acts or expressions “directed at a target” that cause “physical or emotional

harm to the target or damage to the target’s property,” place “the target in reasonable fear of

harm to him/herself, or of damage to his/her property,” create “a hostile environment at school

for the target,” or “infringe[] on the rights of the target at school.”

        25.     John Doe’s speech does not meet this definition. It was a single comment; it was

made in a private setting; it was not directed at or communicated to Robert Roe; and Roe himself

told administrators that John Doe was “not active” in the behavior about which he and his

parent(s) complained, thereby making clear that Doe did not cause Roe any “harm.”

        26.     The “bullying” policy is inapplicable to John Doe’s speech for another reason:

John Doe’s speech was solely on a private social media platform, was not communicated from

Hopkinton Public Schools equipment, and did not disrupt the school. The handbook provides

that “bullying” on the Internet is only regulated by the student handbook when it is

communicated “[t]hrough the use of technology or an electronic device owned, leased or used by

the District,” or “through the use of technology or an electronic device that is not owned, leased

or used by the District if the act or acts in question: materially and substantially disrupt the

education process or the orderly operation of a school.”



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       27.     The Hopkinton Public Schools made no finding that John Doe used Hopkinton

equipment to communicate on the private group chat, nor that John Doe’s speech to the seven

other boys in the private group chat caused a material and substantial disruption of the school. In

fact, John Doe did not use such equipment, and no such disruption occurred.

       28.     John Doe has a right to freedom of speech and expression protected by the First

Amendment to the United States Constitution. Under the First Amendment, public schools may

not punish students for their speech unless such speech materially and substantially disrupts the

work of the school, or meets certain other exceptions not present here.

       29.     Article 16 of the Massachusetts Declaration of rights provides, “The right of free

speech shall not be abridged.”

       30.     Further, under G.L. c. 71, § 82, “The right of students to freedom of expression in

the public schools of the commonwealth shall not be abridged, provided that such right shall not

cause any disruption or disorder within the school.”

       31.     Here, John Doe’s speech did not cause any disruption or disorder within

Hopkinton High School. Indeed, on information and belief, John Doe’s speech was not even

viewed or communicated within Hopkinton High School—at least not until Hopkinton assistant

principals seized a student’s phone and reviewed the content of the private Snapchat group text.

Nor did John Doe communicate his statement to Robert Roe, directly or indirectly, at any time.

       32.     Defendants imposed a three-day suspension on John Doe for private speech that is

protected by the First Amendment, Art. 16, and G.L. c. 71, § 82, and which is not regulated by

the “bullying” policy under which Doe was punished.

       33.     Doe has served his suspension, but the discipline remains on his permanent record

as a Hopkinton High School student. Unless the Court grants injunctive relief to clear Doe’s



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suspension from his record, Doe will be required to notify any college or university to which he

applies of the discipline imposed—a disclosure that may imperil his prospects as a college

applicant.

        34.      Even after being repeatedly informed that Doe’s speech is protected and therefore

not subject to discipline, Carol Cavanaugh, the superintendent of schools, has refused to rescind

the suspension.

                                              COUNT I

                  Declaratory and Injunctive Relief Pursuant to 42 U.S.C. § 1983
                Violation of the First Amendment to the United States Constitution

        36.      John Doe repeats and incorporates the factual allegations above as if fully set

forth herein.

        37.      The First Amendment to the U.S. Constitution provides that “Congress shall make

no law . . . prohibiting the free exercise [of religion]; or abridging the freedom of speech . . . .”

U.S. Const. Amend. I. The Defendants are bound by the First Amendment.

        38.      Defendants have violated the First Amendment because, inter alia, they imposed

discipline on John Doe for speech that is protected by the First Amendment, and which did not

cause any disruption or disorder within the school.

        39.      The actions of the Defendants have caused and threaten to cause irreparable harm

to Doe by depriving him of his right to freedom of speech and expression and imperiling his

future applications to college.




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                                                COUNT II

                Declaratory and Injunctive Relief Pursuant to 42 U.S.C. § 1983
           Violation of the Fourteenth Amendment to the United States Constitution

          41.       Doe repeats and incorporates the factual allegations above as if fully set forth

herein.

          42.       The Fourteenth Amendment provides that no State may deprive persons of liberty

without due process of law. The Fourteenth Amendment applies to towns such as Hopkinton, and

to its officials.

          43.       Under the Fourteenth Amendment, town officials may not act in a manner that is

arbitrary, capricious, or unreasonable.

          44.       Here, Defendants acted in an arbitrary, capricious and unreasonable manner by

punishing John Doe for a single instance of private, out-of-school speech that did not violate any

school policy, which Doe did not communicate within the school, and which did not cause any

disruption or disorder within the school.

          45.       Defendants acted in an arbitrary, capricious and unreasonable manner by

imposing the serious disciplinary punishment of suspension on Doe based on Doe’s single

remark about another student’s appearance made in a small, private discussion outside of school

and outside the student’s presence.

          46.       The actions of the Defendants have caused and threaten to cause irreparable harm

to Doe by depriving him of his right to due process, and by maintaining a disciplinary infraction

on his record that threatens to imperil with his future applications to college.




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                                            COUNT III

                    Declaratory Judgment under G.L. c. 231A, § 1 et seq.
                Violation of Art. 16 of the Massachusetts Declaration of Rights

       48.      John Doe repeats and incorporates the factual allegations above as if fully set

forth herein.

       49.      Article 16 of the Massachusetts Declaration of rights provides, “The right of free

speech shall not be abridged.”

       50.      By their actions set forth above, Defendants have violated John Doe’s right to

freedom of speech and of expression protected by Art. 16.

       51.      The actions of the Defendants have caused and threaten to cause irreparable harm

to Doe by depriving him of his right to freedom of speech and expression, and by interfering

with his future applications to college.

                                            COUNT IV

                     Declaratory Judgment under G.L. c. 231A, § 1 et seq.
                                 Violation of G.L. c. 71, § 82

       52.      John Doe repeats and incorporates the factual allegations above as if fully set

forth herein.

       53.      Under G.L. c. 71, § 82, “The right of students to freedom of expression in the

public schools of the commonwealth shall not be abridged, provided that such right shall not

cause any disruption or disorder within the school.”

       54.      Section 82 protects the free speech rights of high school students limited only by

the requirement that any expression be non-disruptive within the school.




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       55.     Defendants imposed a three-day suspension on John Doe based on speech that did

not cause any disruption or disorder within the school. In so doing, they violated John Doe’s

rights under Section 82.

       56.     The actions of the Defendants have caused and threaten to cause irreparable harm

to Doe by depriving him of his right to freedom of speech and expression and by interfering with

his future applications to college.

                                      PRAYERS FOR RELIEF

       WHEREFORE, John Doe, by and through his mother and next friend, Jane Doe,

respectfully requests that this Court:

       (1)     enter a declaratory judgment in his favor on all counts of the complaint;

       (2)     issue a permanent injunction enjoining Defendants from continuing to maintain

the unlawful three-day suspension on John Doe’s record;

       (3)     issue a permanent injunction restraining Defendants from continuing to deny John

Doe his right to freedom of speech and his right to due process;

       (4)     issue a declaratory judgment that Defendants’ acts deprived John Doe of his rights

under Art. 16 of the Massachusetts Declaration of Rights and G.L. c. 71, § 82;

       (5)     enter a permanent injunction restraining Defendants from continuing to violate

John Doe’s rights under Article 16 of the Massachusetts Declaration of Rights and G.L. c. 71, §

82.

       (6)     award to Plaintiff his reasonable costs and attorneys’ fees in this action pursuant

to 42 U.S.C. § 1988; and

       (7)     grant such other and further relief as the Court deems just and proper.




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                                          Respectfully submitted,

                                          JOHN DOE, by and through his Mother and
                                          Next Friend, JANE DOE,

                                          By his attorney,




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